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                      EXHIBIT B

           SUMMARY OF DISBURSEMENTS
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LORDSTOWN MOTORS CORP. OFFICIAL EQUITY COMMITTEE                                Invoice                6972520
27000 HILLS TECH CT.                                                               Date            Jan 19, 2024
FARMINGTON HILLS, MI 48331                                                        Client                039963

RE: COSTS


                                                INVOICE

For professional services rendered in connection with the above captioned matter
through December 31, 2023:




Matter No.     Matter Name                                              Fees               Costs            Total
039963.0001 COSTS                                                        0.00          5,785.44          5,785.44
               Total                                                     0.00          5,785.44          5,785.44


                   Total Current Fees                                                                       $0.00

                   Total Current Costs                                                                  $5,785.44

                   Total Invoice                                                                        $5,785.44
              Case 23-10831-MFW    Doc 943-3           Filed 02/01/24         Page 3 of 4
LORDSTOWN MOTORS CORP. OFFICIAL EQUITY COMMITTEE                                   Invoice 6972520
RE: COSTS                                                                                   Page 2
January 19, 2024


                                  COST SUMMARY


Description                                                                                     Value
PARKING AND TOLLS                                                                               188.50
MEALS                                                                                           115.32
TAXI                                                                                             59.98
LEXIS                                                                                         2,196.04
WESTLAW ONLINE TRANSACTIONAL SEARCHES / DOCS                                                  3,155.00
PACER                                                                                            54.00
COPIES                                                                                               1.00
          Total Costs                                                                         5,785.44




                                       INCLUDES ONLY TIME AND COSTS TO DATE
                            KINDLY RETURN ATTACHED REMITTANCE PAGE WITH YOUR PAYMENT
                                              PAYABLE WITHIN 30 DAYS

                                          TAX IDENTIFICATION # XX-XXXXXXX
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